                Case 2:06-cv-01356-PMP-LRL Document 67-2 Filed 06/26/07 Page 1 of 1
2AO450 (Rev. 5/85) Judgment in a Civil Case


                                    UNITED STATES DISTRICT COURT
                                                    DISTRICT OF                            NEVADA

NATALIE GORDON, et al.,

               Plaintiffs,                                              JUDGMENT IN A CIVIL CASE

                             V.
HARRAH'S ENTERTAINMENT, INC., et al.,
                                                                        Case Number: 2:06-cv-01356-PMP-LRL

               Defendants.

G Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has
   rendered its verdict.

✔Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and
G
   a decision has been rendered.

   IT IS ORDERED AND ADJUDGED
   that action is DISMISSED without prejudice.




June 26, 2007                                                    LANCE S. WILSON
Date                                                            Clerk


                                                                 /s/ Michael J. Zadina
                                                                (By) Deputy Clerk
